
PER CURIAM.
By petition for a writ of certioari we have for review an order of the Florida Industrial Commission bearing date June 27, 1966.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 31 F.S.A.
Our consideration of the petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petition is therefore denied.
The petition for attorney’s fees filed by Respondent Bruce Mosley is granted in the amount of $250.00.
THORNAL, C. J., and THOMAS, ROBERTS, DREW and ERVIN, JJ., concur.
